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     Soha & Lang, P.S.
2    1325 Fourth Avenue, Suite 2000
3    Seattle, WA 98101-2570
     Telephone: 206-624-1800
4    Attorneys for Plaintiffs

5
                            UNITED STATES DISTRICT COURT
6
                      FOR THE EASTERN DISTRICT OF WASHINGTON,
7                                    AT SPOKANE

8    THE CINCINNATI INSURANCE
     COMPANY, an Ohio corporation; and         Cause No. 2:17-cv-0140
9    THE CINCINNATI INDEMNITY                  CIVIL CASE
10   COMPANY, an Ohio corporation,
                                               COMPLAINT FOR
11                            Plaintiffs,      DECLARATORY RELIEF

12           vs.                               28 U.S.C. § 1332(a)(2)
13
     ZAYCON FOODS, LLC, a Washington
14   limited liability company; FRANK
     MARESCA and JANE DOE
15   MARESCA, husband and wife, and the
     marital community composed thereof;
16   MICHAEL GIUNTA and JANE DOE
17   GIUNTA, husband and wife, and the
     marital community composed thereof;
18   MIKE CONRAD and JANE DOE
     CONRAD, husband and wife, and the
19   marital community composed thereof;
     ADAM KREMIN and JANE DOE
20
     KREMIN, husband and wife, and the
21   marital community composed thereof;
     and RICHARD BRADDOCK, an
22   individual,
23                            Defendants.

     COMPLAINT FOR DECLARATORY RELIEF – 1                             SOHA & L ANG, P.S.
                                                                         ATTORNEYS AT LAW
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1                     COME NOW plaintiffs The Cincinnati Insurance Company and The
2    Cincinnati Indemnity Company and allege as follows:
3
                                 I.     NATURE OF ACTION
4
             1.       In this action, plaintiffs The Cincinnati Insurance Company and The
5
     Cincinnati Indemnity Company seek a declaration that they have no duty to
6
     defend, indemnify or pay sums to or on behalf of any defendant with respect to an
7

8    underlying lawsuit, Braddock v. Zaycon Foods, LLC, et al., U.S. District Court

9    for the Eastern District of Washington, Case No. 16-cv-01756 TSZ (the
10
     “Underlying Suit”).
11
                                        II.    PARTIES
12
             2.       Plaintiff The Cincinnati Insurance Company is an Ohio corporation
13
     having its principal place of business in Fairfield, Ohio.
14
             3.       Plaintiff The Cincinnati Indemnity Company is an Ohio corporation
15

16   having its principal place of business in Fairfield, Ohio.

17           4.       On information and belief, defendant Zaycon Foods, LLC
18
     (“Zaycon”) is a Washington limited liability company having its principal place
19
     of business in Spokane, Washington.
20
             5.       On information and belief, defendants Frank Maresca and Jane Doe
21
     Maresca (collectively, “Maresca”) are husband and wife who resided in
22

23   Massapequa, New York at times relevant.

     COMPLAINT FOR DECLARATORY RELIEF – 2                                 SOHA & L ANG, P.S.
                                                                             ATTORNEYS AT LAW
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1            6.       On information and belief, defendants Michael Giunta and Jane Doe
2    Giunta (collectively, “Giunta”) are husband and wife who resided in Sands Point,
3
     New York at times relevant.
4
             7.       On information and belief, defendants Mike Conrad and Jane Doe
5
     Conrad (collectively, “Conrad”) are husband and wife who resided in Green
6

7    Acres, Washington at times relevant.

8            8.       On information and belief, defendants Adam Kremin and Jane Doe
9    Kremin (collectively, “Kremin”) are husband and wife who resided in Newman
10
     Lake, Washington at times relevant.
11
             9.       On     information   and     belief,    defendant      Richard         Braddock
12
     (“Braddock”) resided in New York, New York at times relevant.
13

14                             III.   JURISDICTION AND VENUE

15           10.      Subject Matter Jurisdiction.           This Court has subject matter

16   jurisdiction under 28 U.S.C. § 1332(a)(1) because this controversy is between
17
     citizens of different states and because the matter in controversy exceeds,
18
     exclusive of interest and costs, the sum specified by 28 U.S.C. § 1332(a).
19
             11.      Personal Jurisdiction.     This Court has personal jurisdiction over
20
     defendants Conrad and Kremin, who, on information and belief, resided in
21

22   Washington at relevant times.             This Court has personal jurisdiction over

23   defendants Maresca and Giunta, who, on information and belief, were members

     COMPLAINT FOR DECLARATORY RELIEF – 3                                       SOHA & L ANG, P.S.
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1    and/or managers of Zaycon and conducted business in Washington at relevant
2    times. This Court also has personal jurisdiction over defendant Braddock, who,
3
     on information and belief, conducted business in Washington and commenced the
4
     Underlying Suit in this state.
5
             12.      Venue. Venue is properly laid in this Court under 28 U.S.C. §
6

7    1391(b)(2) because a substantial part of the events or omissions giving rise to this

8    controversy and the Underlying Suit occurred in this District.
9
                               IV.    FACTUAL ALLEGATIONS
10
             13.      On information and belief, Frank Maresca, Michael Giunta, Mike
11
     Conrad, and Adam Kremin were members and/or managers of Zaycon at times
12
     relevant.
13
             14.      On information and belief, Braddock invested in and loaned funds to
14

15   Zaycon.

16           15.      On information and belief, Braddock was also involved in Zaycon’s
17
     management and business operations.
18
             16.      Braddock filed the Underlying Suit against Zaycon, Maresca,
19
     Giunta, Conrad, and Kremin on or about November 14, 2016. A true, correct and
20
     authentic copy of the Complaint in the Underlying Suit is attached as Exhibit A
21

22   hereto and incorporated herein by this reference.

23

     COMPLAINT FOR DECLARATORY RELIEF – 4                                 SOHA & L ANG, P.S.
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1            17.      Braddock alleges claims in the Underlying Suit against Zaycon,
2    Maresca, Giunta, Conrad, and Kremin, for Violation of Section 10(b) of the
3
     Securities Exchange Act and Rule 10b-5; Violation of RCW 21.20.010–Unlawful
4
     Offers, Sales and Purchases of Security; Conrad’s and Kremin’s Liability under
5
     RCW 21.20.430–Violation of DFI Cease and Desist Order; Fraud; Negligent
6

7    Misrepresentation; Breach of Fiduciary Duty; Breach of Contract; Aiding and

8    Abetting Breach of Fiduciary Duty; and Declaratory Judgment.
9            18.      The Cincinnati Insurance Company issued liability insurance to
10
     Zaycon under Policy No. CAP 523 82 32, which was in effect from September
11
     19, 2013 to October 14, 2014, and under Policy No. ENP 028 25 64, which was in
12
     effect from October 14, 2014 to October 14, 2015.
13

14           19.      The Cincinnati Indemnity Company issued liability insurance to

15   Zaycon under Policy No. ENP 028 25 64, which was in effect for two consecutive
16   annual periods from October 14, 2015 to October 14, 2017.
17
             20.      The foregoing insurance policies will be referenced herein as the
18
     “Policies.”
19
             21.      Subject to certain terms, conditions and exclusions, the Policies
20

21   provide coverage for an insured’s legal obligation to pay damages because of

22   “bodily injury” caused by an “occurrence.” “Bodily injury” is defined as “bodily
23   injury, sickness or disease sustained by a person, including death resulting from

     COMPLAINT FOR DECLARATORY RELIEF – 5                                SOHA & L ANG, P.S.
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1    any of these at any time.” “Occurrence” is defined as “an accident, including
2    continuous or repeated exposure to substantially the same general harmful
3
     conditions.”
4
             22.      The Underlying Suit alleges no claim for “bodily injury” caused by
5
     an “occurrence.”
6

7            23.      Subject to certain terms, conditions and exclusions, the Policies also

8    provide coverage for an insured’s legal obligation to pay damages because of
9    “property damage” caused by an “occurrence.” “Property damage” is defined as
10
     “physical injury to tangible property” and as “loss of use of tangible property that
11
     is not physically injured.”
12
             24.      The Underlying Suit alleges no claim for “property damage” caused
13

14   by an “occurrence.”

15           25.      Subject to certain terms, conditions and exclusions, the Policies also
16   provide liability coverage for an insured’s legal obligation to pay damages
17
     because of “personal and advertising injury,” which is defined as certain
18
     enumerated offenses.
19
             26.      The Underlying Suit alleges no claim for “personal and advertising
20

21   injury.”

22           27.      Subject to certain terms, conditions and exclusions, the Policies also
23   provide “Employee Benefit Liability” (“EBL”) coverage, which applies to an

     COMPLAINT FOR DECLARATORY RELIEF – 6                                  SOHA & L ANG, P.S.
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1    insured’s legal obligation to pay damages caused by an act, error or omission in
2    the “administration” of Zaycon’s “employee benefit program,” as those terms are
3
     defined in the Policies.
4
             28.      The Underlying Suit alleges no claim that could fall within the EBL
5
     coverage.
6

7            29.      Subject to certain terms, conditions and exclusions, the Policies also

8    provide umbrella liability insurance for an insured’s legal obligation to pay
9    “ultimate net loss” for “bodily injury,” “personal and advertising injury,” or
10
     “property damage,” as those terms are defined in the Policies.
11
             30.      The Underlying Suit alleges no claim that could fall within the
12
     umbrella liability coverage.
13

14           31.      Any coverage provided in the Policies is also subject to one or more

15   exclusions, including, but not limited to, exclusions for “bodily injury” or
16   “property damage” reasonably expected to result from the intentional acts of an
17
     insured, exclusions for “contractual liability,” and exclusions for “employment
18
     related practices.”
19
             32.      The Policies contain additional terms, limitations, conditions,
20

21   exclusions and/or endorsements that may also apply to the claims and damages

22   alleged in the Underlying Suit.
23

     COMPLAINT FOR DECLARATORY RELIEF – 7                                  SOHA & L ANG, P.S.
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1            33.      Plaintiffs are presently defending Zaycon, Maresca, Giunta, Conrad,
2    and Kremin in the Underlying Suit under a full reservation of rights.
3
                V.      CAUSE OF ACTION FOR DECLARATORY RELIEF
4
             34.      Plaintiffs reallege the preceding paragraphs as though fully set forth
5
     herein.
6
             35.      An actual controversy within the jurisdiction of this Court exists
7

8    between plaintiffs and the defendants regarding the existence and scope of

9    coverage under the Policies with respect to the claims and damages alleged in the
10
     Underlying Suit.
11
             36.      Plaintiffs are entitled to a declaration that the Policies do not cover
12
     the claims and damages alleged in the Underlying Suit because the Underlying
13
     Suit does not allege “bodily injury” caused by an “occurrence.”
14

15           37.      Plaintiffs are also entitled to a declaration that the Policies do not

16   cover the claims and damages alleged in the Underlying Suit because the
17
     Underlying Suit does not allege “property damage” caused by an “occurrence.”
18
             38.      Plaintiffs are also entitled to a declaration that the Policies do not
19
     cover the claims and damages alleged in the Underlying Suit because the
20
     Underlying Suit does not allege “personal and advertising injury.”
21

22

23

     COMPLAINT FOR DECLARATORY RELIEF – 8                                   SOHA & L ANG, P.S.
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1            39.      Plaintiffs are also entitled to a declaration that the Policies do not
2    cover the claims and damages alleged in the Underlying Suit because the
3
     Underlying Suit does not allege any claim within the EBL coverage.
4
             40.      Plaintiffs are also entitled to a declaration that the Policies do not
5
     cover the claims and damages alleged in the Underlying Suit because the
6

7    Underlying Suit does not allege any claim within the umbrella liability coverage.

8            41.      Plaintiffs are also entitled to a declaration that the Policies do not
9    cover the claims and damages alleged in the Underlying Suit due to the
10
     application of one or more other policy terms, limitations, conditions, exclusions
11
     and/or endorsements, including, without limitation, exclusions for “bodily injury”
12
     or “property damage” reasonably expected to result from the intentional acts of an
13

14   insured, exclusions for “contractual liability,” and exclusions for “employment

15   related practices.”
16           42.      Plaintiffs are further entitled to a declaration that they have no duty
17
     to defend Zaycon, Maresca, Giunta, Conrad, Kremin, or any of them, in the
18
     Underlying Suit, and that plaintiffs may immediately cease and withdraw from
19
     any further defense of Zaycon, Maresca, Giunta, Conrad, and Kremin in that suit.
20

21

22

23

     COMPLAINT FOR DECLARATORY RELIEF – 9                                   SOHA & L ANG, P.S.
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1                             VI.    RESERVATION OF RIGHTS
2            Plaintiffs reserve the right to amend their complaint to assert additional
3
     claims, allegations and/or other matters as additional facts are obtained through
4
     discovery and investigation.
5
                                  VII. PRAYER FOR RELIEF
6
             WHEREFORE, plaintiffs pray for relief against defendants as follows:
7

8
             1.       For a declaration that plaintiffs have no duty to indemnify or pay any

9    sums to or on behalf of any defendant with respect to the Underlying Suit;

10           2.       For a declaration that plaintiffs have no duty to defend Zaycon,
11
     Maresca, Giunta, Conrad, Kremin, or any of them, with respect to the Underlying
12
     Suit;
13
             3.       For a declaration that plaintiffs may immediately cease and withdraw
14
     from defending Zaycon, Maresca, Giunta, Conrad, and Kremin in the Underlying
15

16   Suit;

17           4.       For Plaintiffs’ attorney fees and costs pursuant to statute, contract or
18
     equity; and
19
             5.       For such other and further relief as this Court deems just and
20
     equitable.
21

22

23

     COMPLAINT FOR DECLARATORY RELIEF – 10                                  SOHA & L ANG, P.S.
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1            DATED this 13th day of April, 2017.
2
                                          SOHA & LANG, P.S.
3

4
                                          By: /s/ Gary Sparling
5
                                           Gary Sparling, WSBA # 23208
6                                          Email address sparling@sohalang.com
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7                                          1325 Fourth Avenue, Suite 2000
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                                           Facsimile: 206-624-3585
                                           Attorneys for Plaintiffs
10

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23

     COMPLAINT FOR DECLARATORY RELIEF – 11                            SOHA & L ANG, P.S.
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                 EXHIBIT A
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 1

 2

 3

 4

 5

 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
      RICHARD BRADDOCK,
 9
                                        Plaintiff,            NO. 2:16-cv-1756
10
                                                              COMPLAINT
11                v.

12    ZAYCON FOODS, LLC, a Washington limited
      liability company; FRANK R. MARESCA, JANE
13    DOE MARESCA and the marital community
      composed thereof; MICHAEL GIUNTA, JANE
14
      DOE GIUNTA and the marital community
15    composed thereof; MIKE CONRAD, JANE DOE
      CONRAD and the marital community composed
16    thereof; and ADAM KREMIN, JANE DOE
      KREMIN and the marital community composed
17    thereof,
18
                                         Defendants.
19

20                Plaintiff Richard Braddock (“Braddock”), by and through his attorneys, Trachtenberg

21 Rodes & Friedberg LLP and Ryan, Swanson & Cleveland PLLC, as and for its Complaint

22
     herein, alleges as follows:
23
                                                I.     PARTIES
24
                   1.    Plaintiff Richard Braddock is a resident of New York, New York.
25

26

     COMPLAINT - 1



     1403877.01
       Case 2:17-cv-00140-SMJ
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 1                2.   Defendant Zaycon Foods, LLC is a Washington limited liability company with
 2 its principal place of business at 16201 E. Indiana Avenue, Suite 2150, Spokane, Washington.

 3
                  3.   Defendants Mike Conrad and Jane Doe Conrad are husband and wife and
 4
     comprise a marital community. All of the acts of Mike Conrad were for the benefit of the
 5
     Conrads and their marital community. Mike Conrad is a member and a former managing
 6

 7 member of Zaycon.          The Conrads reside at 2608 South Viewmont Drive Green Acres,

 8 Washington. The Conrads and their marital community shall collectively be referred to as

 9 “Conrad.”

10                4.   Defendants Frank R. Maresca and Jane Doe Maresca are husband and wife and
11
     comprise a marital community. All of the acts of Frank R. Maresca were for the benefit of the
12
     Marescas and their marital community. Frank R. Maresca is a member and the managing
13
     member of Zaycon. The Marescas reside at 186 N. Manhattan Avenue, Massapequa, New York.
14

15 The Marescas and their marital community shall collectively be referred to as “Maresca.”

16                5.   Defendants Michael Giunta and Jane Doe Giunta are husband and wife and

17 comprise a marital community. All of the acts of Michael Giunta were for the benefit of the

18
     Giuntas and their marital community. Michael Giunta is a member and a former managing
19
     member of Zaycon. The Giuntas reside at 5 Sterling Lane, Sands Point, New York. The Giuntas
20
     and their marital community shall collectively be referred to as “Giunta.”
21
                  6.   Defendants Adam Kremin and Jane Doe Kremin are husband and wife and
22

23 comprise a marital community. All of the acts of Adam Kremin were for the benefit of the

24 Kremins and their marital community. Adam Kremin is a member of Zaycon. The Kremins

25

26

     COMPLAINT - 2



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 1 reside at 23815 East Trent Avenue, Newman Lake, Washington. The Kremins and their marital

 2 community shall collectively be referred to as “Kremin.”

 3

 4                                         II.      JURISDICTION

 5                7.    The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a)
 6 of the Securities Exchange Act of 1934 (the “Securities Exchange Act”), 15 U.S.C. §§ 78j(b)

 7
     and 78t(a), and Rule 10b-5 promulgated thereunder, 17 C.F.R. § 240.10b-5.
 8
                  8.    This Court has jurisdiction over the subject matter of this action pursuant to 28
 9
     U.S.C. § 1331, Section 27 of the Securities Exchange Act and 28 U.S.C. § 1367(a).
10

11
                                                 III.   VENUE
12
                  9.    Venue is proper in this District pursuant to an agreement between the parties and
13
     Section 27 of the Securities Exchange Act and 28 U.S.C. § 1391(b).                The Company is
14

15 incorporated and headquartered in Washington State, and many of the acts charged herein,

16 including the preparation and dissemination of materially false and misleading information,

17 occurred in substantial part in the State of Washington.

18
                  10.   In connection with the acts alleged in this Complaint, Defendants, directly or
19
     indirectly, used the means and instrumentalities of interstate commerce, including, but not
20
     limited to, the mails and interstate telephone communications.
21

22
                                     IV.     FACTUAL BACKGROUND
23
                  Braddock
24
                  11.   Braddock is the former president and chief operating officer of Citicorp and its
25

26 principal subsidiary, Citibank, N.A.; former chairman and chief executive officer of

     COMPLAINT - 3



     1403877.01
       Case 2:17-cv-00140-SMJ
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 1 Priceline.com, which he had joined during its startup phase, which he had taken public and

 2 which now has a market capitalization in excess of $70 billion; former chief executive officer

 3
     of Medco Containment Services, Inc., the largest prescription drug services company, until its
 4
     acquisition by Merck & Co., Inc. in November 1993 for $6 billion; former chairman and CEO
 5
     of FreshDirect, a successful online grocer; former principal of Clayton, Dubilier & Rice, Inc., a
 6

 7 private equity firm; former chairman of True North Communications Inc.; former chairman of

 8 MidOcean Partners, a private investment fund; and a former director of Marriott International,

 9 Inc., Cadbury, PLC, Citibank, N.A., Lotus software and several privately held companies.

10
           Conrad’s and Kremin’s Prior Violations of the Securities Laws
11
                  12.   During or about 2009, the Securities Division of the State of Washington’s
12
     Department of Financial Institutions (“DFI”) commenced an investigation of Conrad and
13
     Kremin for their promotion and sale of shares in a company by the name of IFT Holdings, Inc.,
14

15 f/k/a Integrated Fuel Technologies, Inc. (“IFT”).

16                13.   Initially, IFT’s business centered on a fuel additive delivery system known as a

17 “fuel doser.” Later, IFT focused on the development of a catalyst that removes nitrogen oxides

18
     from diesel engine emissions.
19
                  14.   On or about November 24, 2009, DFI filed a Statement of Charges and Notice
20
     of Intent to Enter Order to Cease and Desist, to Impose Fines and to Recover Costs against
21
     Conrad and Kremin for their promotion and sale of shares in IFT.
22

23                15.   DFI alleged inter alia that: (i) Conrad and Kremin violated RCW 21.20.140,

24 through their offer and/or sale of securities for which there was no registration on file with the

25 Washington State Securities division of DFI; (ii) Conrad and Kremin violated RCW 21.20.040

26

     COMPLAINT - 4



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 1 by offering or selling said securities while not registered as a salesperson or broker-dealer in the

 2 State of Washington; and (iii) Conrad and Kremin made misstatements of material fact, or

 3
     omitted to state material facts necessary in order to make the statements made, in light of the
 4
     circumstances under which they were made, not misleading in violation of RCW 21.20.010.
 5
                  16.   Conrad failed to request an administrative hearing on the charges. Kremin
 6

 7 waived the right to a hearing and submitted a written statement in lieu of a hearing.

 8                17.   After considering the written statement and reviewing the investigative record,

 9 the Securities Administrator found no material grounds for amending the Statement of Charges

10 against Kremin and adopted as final the findings of fact and conclusions of law set forth in the

11
     Statement of Charges.
12
                  18.   On or about January 26, 2010, DFI filed its Entry of Findings of Fact and
13
     Conclusion of Law and Final Order to Cease and Desist as to Kremin.
14

15                19.   On or about January 27, 2010, DFI filed its Entry of Findings of Fact and

16 Conclusions of Law and Final Order to Cease and Desist as to Conrad.

17                20.   The Final Orders required Conrad and Kremin to (i) cease and desist from
18
     offering or selling securities in violation of RCW 21.20.140, the securities registration section
19
     of the Securities Act of Washington; (ii) cease and desist from acting as unregistered securities
20
     broker-dealers or salespersons in violation of RCW 21.20.040, the broker-dealer and securities
21
     salesperson registration section of the Securities Act of Washington; and (iii) cease and desist
22

23 from violating RCW 21.20.010, the anti-fraud section of the Securities Act of Washington.

24                21.   In addition, Conrad was fined $10,000 by the DFI for his violations of the
25 securities laws.

26

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 1                22.   Upon information and belief, Conrad has never been registered as a securities
 2 broker-dealer or salesperson under RCW 21.20.040.

 3
                  23.   Upon information and belief, Kremin has never been registered as a securities
 4
     broker-dealer or salesperson under RCW 21.20.040.
 5
                  Conrad’s Bankruptcy
 6

 7                24.   On April 22, 2010, Conrad filed a petition for bankruptcy protection in the

 8 Eastern District of Washington, Case No. 10-02447-FPC7.

 9                25.   A significant portion of the creditors listed on Conrad’s petition were IFT
10 shareholders who had been defrauded by Conrad’s IFT scheme.

11
                  26.   On or about May 12, 2010, Conrad filed Schedule F to his bankruptcy petition,
12
     which identified Adam Kremin; Campbell, Bissell and Kirby, PLLC; JC Conrad and Frank
13
     Maresca – all of whom have been associated with Zaycon – as Creditors Holding Unsecured
14

15 Nonpriority Claims in the Conrad bankruptcy.

16                27.   Kremin is listed as a creditor due to his purported investment in IFT.

17                28.   Campbell, Bissell and Kirby, PLLC (“Campbell Bissell”) is listed as a creditor
18
     for “unpaid service fees”.
19
                  29.   JC Conrad is listed as an unsecured nonpriority creditor for a “personal loan” and
20
     as an investor in IFT.
21
                  30.   Maresca is listed as an unsecured nonpriority creditor.
22

23                Zaycon

24                31.   Zaycon was founded on January 9, 2010, by the filing of a Certificate of
25 Formation with the Washington Secretary of State.

26

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 1                32.   The Zaycon business model provides for food items to be shipped directly from
 2 the farm to the consumer, thus bypassing the normal maze of wholesalers, distributors and other

 3
     intermediaries.       Zaycon sources its products directly from the farm in bulk purchases.
 4
     Refrigerated trucks pick up the goods at the farm and deliver them directly to the consumer at
 5
     predetermined central locations. By allowing consumers to buy directly, Zaycon affords them
 6

 7 the opportunity to get fresher products, superior quality and lower cost.            Similarly, by

 8 eliminating warehousing, Zaycon can offer consumers cost savings of up to 50%.

 9                33.   The Zaycon model had the prospect to revolutionize the grocery market.
10                34.   However, by mid-2014 the Company was floundering as it was short on capital
11
     and experienced leadership.
12
                  Braddock Invests in Zaycon
13
                  35.   In mid-2014, based on the breadth of Braddock’s experience and his willingness
14

15 to invest in start-up ventures, Defendants sought out Braddock and solicited his investment in

16 Zaycon.

17                36.   Defendants thereupon made a series of fraudulent, reckless and/or negligent
18
     misrepresentations and omissions to Braddock.
19
                  37.   Certain of these fraudulent, reckless and/or negligent misrepresentations and
20
     omissions were contained in the Second Amended and Restated Operating Agreement of
21
     Zaycon Foods dated November 1, 2012 (the “Operating Agreement”), a copy of which, as
22

23 amended, was provided to Braddock during or about the summer of 2014.

24                38.   The Operating Agreement falsely stated that the number of Class A Units which
25 had been issued to Mike Conrad was 1,375,000.

26

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 1                39.   The Operating Agreement falsely stated that the number of Class A units which
 2 had been issued to Adam Kremin was 1,375,000.

 3
                  40.   The Operating Agreement falsely stated that the number of Class A Units which
 4
     had been issued to Frank Maresca was 750,000.
 5
                  41.   The Operating Agreement falsely stated that the total number of Class A Units
 6

 7 which had been issued to Zaycon members was 5,500,000.

 8                42.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units

 9 had been issued to Conrad.

10                43.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
11
     had been issued to Kremin.
12
                  44.   The Operating Agreement failed to disclose that at least 1,750,000 Class A Units
13
     had been issued to Maresca.
14

15                45.   The Operating Agreement failed to disclose that over 3,000,000 Class A Units

16 had been issued to Giunta.

17                46.   The Operating Agreement failed to disclose that the total number of Class A
18
     Units which had been issued to Zaycon members was over 14,881,000.
19
                  47.   Additional fraudulent, reckless and/or negligent misrepresentations and
20
     omissions were made in a series of meetings in New York and Colorado and during telephone
21
     conversations while Braddock was in New York or Colorado which began during mid-2014 and
22

23 continued until January 2016.

24                48.   During these meetings and telephone conversations, each of the Individual
25 Defendants, acting on behalf of himself and Zaycon and the other Individual Defendants, made

26

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 1 misrepresentations, including but not limited to a) that the Individual Defendants and other

 2 investors had placed substantial sums into the Company; and b) that an accurate capitalization

 3
     chart was in the process of being prepared and would be provided to Braddock as soon as it was
 4
     ready        (together   with   the   misrepresentations   in   the   Operating   Agreement,   the
 5
     “Misrepresentations”).
 6

 7                49.   In addition, during these meetings and telephone conversations, each of the

 8 Individual Defendants, acting on behalf of himself and Zaycon and the other Individual

 9 Defendants, failed to inform Braddock that a) DFI had initiated an action against Conrad in

10 2009; b) DFI had issued a Cease and Desist Order as to Conrad in January 2010; c) DFI had

11
     initiated an action against Kremin in 2009; d) DFI had issued a Cease and Desist Order as to
12
     Kremin in January 2010; e) Conrad had gone into personal bankruptcy in 2010; f) Maresca had
13
     been a creditor in Conrad’s bankruptcy proceeding; g) Maresca had been given his interest in
14

15 the Company for little or no consideration; h) Maresca owned at least 1,000,000 more voting

16 units than the number of voting units set forth in Zaycon’s Operating Agreement; i) Kremin had

17 been a creditor in Conrad’s bankruptcy proceeding; j) Kremin had been given his interest in the

18
     Company for little or no consideration; k) Kremin owned at least 1,625,000 more voting units
19
     than the number of voting units described in Zaycon’s Operating Agreement; l) the law firm
20
     which prepared Zaycon’s Operating Agreement had been a creditor in Conrad’s bankruptcy
21
     proceeding; m) Conrad had been given his own interest in the Company for little or no
22

23 consideration; n) Conrad owned at least 1,625,000 more voting units than the number of voting

24 units described in Zaycon’s Operating Agreement; and o) Giunta owned over 3,000,000 voting

25 units which were not referenced in the Operating Agreement (together with the omissions in the

26

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 1 Operating Agreement, the “Omissions”).

 2                50.   During the period from mid-2014 through January 2016, each of the Individual
 3
     Defendants, acting on behalf of himself and Zaycon and the other Individual Defendants
 4
     continued to make the Misrepresentations and Omissions, orally and in writing, to Braddock in
 5
     connection with solicitations of additional capital and loans from Braddock.
 6

 7                51.   All of the Misrepresentations were intentional or were tantamount to intentional

 8 misrepresentations.

 9                52.   All of the Omissions were intentional or were tantamount to intentional
10 omissions.

11
                  53.   All of the Misrepresentations were material.
12
                  54.   All of the Omissions were material.
13
                  55.   On or about August 21, 2014, Braddock invested $1 million dollars in Zaycon
14

15 and received a) 1,420,987 Class A membership units in Zaycon; and b) an option to purchase

16 947,325 additional Class A membership units in Zaycon exercisable until December 31, 2025.

17                56.   Class A membership units in Zaycon are voting units.
18
                  57.   On or about December 15, 2014, Braddock invested an additional $500,000 in
19
     Zaycon and received 394,741 Class B membership units in Zaycon and an option to purchase
20
     476,190 additional Class B membership units in Zaycon exercisable until December 31, 2024.
21
                  58.   Class B membership units in Zaycon are non-voting units.
22

23                59.   On or about September 18, 2015, Braddock invested an additional $450,000 in

24 Zaycon and received 478,723 Class A Units in Zaycon.

25                60.   On or about February 3, 2015, Braddock loaned $500,000 to Zaycon and
26

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 1 received a convertible promissory note entitling him to convert all sums owed under the note in

 2 exchange for 396,825 Class A Units in Zaycon, plus additional Class A Units in Zaycon on

 3
     account of accrued interest, exercisable until December 31, 2016.
 4
                  61.   On or about May 13, 2015, Braddock loaned $252,739.73 to Zaycon and received
 5
     a convertible promissory note entitling him to convert all sums owed under the note in exchange
 6

 7 for 221,702 Class A Units in Zaycon, exercisable until December 31, 2016.

 8                62.   On or about June 16, 2015, Braddock loaned $500,000 to Zaycon and received a

 9 convertible promissory note entitling him to convert all sums owed under the note in exchange

10 for 434,783 Class A Units in Zaycon, plus additional Class A Units in Zaycon on account of

11
     accrued interest, exercisable until June 16, 2025.
12
                  63.   On or about September 24, 2015, Braddock loaned $450,000 to Zaycon and
13
     received a convertible promissory note entitling him to convert all sums owed under the note in
14

15 exchange for 489,130 Class A Units in Zaycon, plus additional Class A Units in Zaycon on

16 account of accrued interest, exercisable until September 24, 2025.

17                64.   On or about December 16, 2015, Braddock loaned $200,000 to Zaycon and
18
     received a convertible promissory note entitling him to convert all sums owed under the note in
19
     exchange for 232,002 Class A Units in Zaycon, plus additional Class A Units in Zaycon on
20
     account of accrued interest, exercisable until December 16, 2016.
21
                  65.   On or about January 4, 2016, Braddock loaned $300,000 to Zaycon and received
22

23 a convertible promissory note entitling him to convert all sums owed under the note in exchange

24 for 359,411 Class A Units in Zaycon, plus additional Class A Units in Zaycon on account of

25 accrued interest, exercisable until January 4, 2017.

26

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 1                66.   On or about July 8, 2015, Braddock exercised his conversion option under his
 2 February 3, 2015, $500,000 convertible promissory note and received 409,959 additional Class

 3
     A membership units in Zaycon.
 4
                  67.   In sum, from August 2014 through January 2016, Braddock invested $2,450,000
 5
     in Zaycon and provided over $1,702,000 of convertible debt to Zaycon.
 6

 7                68.   This made Braddock Zaycon’s largest investor by far.

 8                69.   All of Braddock’s investments were made in reliance on representations and

 9 omissions made in the Operating Agreement and by Maresca, Giunta, Conrad and Kremin, each

10 of whom was acting on behalf of himself and Zaycon and the other Individual Defendants.

11
                  70.   All of Braddock’s loans were made in reliance on representations and omissions
12
     made in the Operating Agreement and by Maresca, Giunta, Conrad and Kremin, each of whom
13
     was acting on behalf of himself and Zaycon and the other Individual Defendants.
14

15                71.   Braddock would not have made his investments in the absence of the

16 Misrepresentations.

17                72.   Braddock would not have made his loans if the material information omitted
18
     through the Omissions had been disclosed.
19
                  73.   Conrad was a seller of securities for the purposes of federal and state law.
20
                  74.   Kremin was a seller of securities for the purposes of federal and state law.
21
                  75.   Maresca was a seller of securities for the purposes of federal and state law.
22

23                76.   Giunta was a seller of securities for the purposes of federal and state law.

24                Braddock Takes a More Active Role in Zaycon
25                77.   By late September 2015, Braddock began to realize that a number of
26

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 1 representations made to him by Maresca, Giunta, Conrad and Kremin, in their individual

 2 capacity and on behalf of Zaycon, about the financial and operational strength of Zaycon, had

 3
     been untrue.
 4
                  78.   Accordingly, Braddock stepped in to take a more active role in the Company.
 5
                  79.   In particular, Braddock became Co-managing Member of Zaycon.
 6

 7                80.   The other Co-managing Member of Zaycon during Braddock’s tenure was

 8 Defendant Maresca.

 9                81.   On or about October 1, 2015, Braddock also became Zaycon’s Chief Executive
10 Officer and received 250,000 additional Class A membership units in Zaycon in consideration

11
     of his services as CEO pursuant to a written agreement.
12
                  82.   Under Braddock’s leadership, and with the benefit of the capital infusions
13
     received from Braddock, Zaycon’s revenues grew from $16 million in 2014 to $25 million in
14

15 2015, with 2016 revenues projected at $73 million.

16                83.   By mid-January 2016, Braddock owned 3,184,669 Class A and 394,741 Class B

17 membership units in the Company. In addition, he had the option and the means to purchase

18
     947,325 additional Class A and 476,190 Class B membership units in the Company. He also
19
     had the right to convert the Company’s indebtedness to him into up to 1,528,226 additional
20
     Class A membership units in the Company, as well as to receive certain additional Class A
21
     conversion units on account of accrued interest.
22

23                Zaycon Seeks Additional Investments

24                84.   Once Braddock had put Zaycon on firm footing, the Company determined that
25 the time was right to seek either additional investment or the sale of the Company.

26

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 1                85.   During or about late 2015 or early 2016, Zaycon retained Vertical Group
 2 (“Vertical”) to provide investment banking services to the Company.                 Michael Shwarts
 3
     (“Shwarts”) was the Vertical investment banker assigned to the engagement.
 4
                  86.   During or about January 2016, Vertical and Shwarts prepared an investor
 5
     presentation for Zaycon featuring Braddock as its CEO and Chairman of the Board and
 6

 7 highlighting his unique background and qualifications.

 8                87.   Vertical’s investor presentation referred to Braddock as the “seasoned” leader of

 9 Zaycon’s management team, described him as an “experienced CEO in the e-commerce and

10 food industries” and touted both his directly relevant experience as the former chairman and

11
     CEO of priceline.com and FreshDirect and his more general high level experience in business
12
     and finance, including that gained as the former president and COO of Citicorp and Citibank,
13
     N.A.
14

15                88.   In addition, the Vertical investor presentation noted that Zaycon’s year to year

16 sales growth during the years 2014 to 2016 (the years of Braddock’s involvement) were 20.9%,

17 50.9% and 193.6% (projected), respectively.

18
                  89.   On or about April 14, 2016, a private equity firm based in Boston, Massachusetts
19
     by the name of Great Hill Partners (“Great Hill”) submitted a proposal to make an investment
20
     of $25 million to buy into Zaycon at a pre-money enterprise valuation of $30 million.
21
                  90.   The Great Hill proposal contemplated that $10 million would be used to buy
22

23 equity from existing members of Zaycon and that $15 million would be invested directly into

24 the Company.

25                91.   Braddock advised Defendants and Vertical and Shwarts that he believed that the
26

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 1 Great Hill deal could be improved through negotiation but that he was strongly in favor of

 2 coming to terms with Great Hill.

 3
                  92.    Braddock further advised Defendants that he regarded the Great Hill proposal as
 4
     being more favorable than another proposal the Company had received.
 5
                  93.    The Great Hill proposal contemplated that Great Hill would acquire 56.5% of
 6

 7 Zaycon’s fully diluted equity.

 8                94.    This meant that the equity of all existing members of Zaycon would be diluted.

 9                95.    In addition, the Great Hill proposal required Zaycon to be debt-free at the closing
10 of Great Hill’s investment.

11
                  96.    This meant that Braddock would be required to convert all of his remaining debt
12
     to equity.
13
                  97.    Braddock and Defendants Maresca, Giunta, Conrad and Kremin thereupon
14

15 agreed that Braddock would convert all of his debt to equity in order to facilitate the Great Hill

16 transaction.

17                98.    In addition, Braddock and Defendants Maresca, Giunta, Conrad and Kremin
18
     agreed once again that Braddock would be given an accurate capitalization chart and the other
19
     paperwork necessary to enable Braddock to effectuate the conversion of his debt to equity.
20
                  99.    Giunta thereupon undertook to provide Braddock with an accurate capitalization
21
     chart and the other paperwork necessary to enable Braddock to effectuate the conversion of his
22

23 debt to equity.

24                100.   Defendants Maresca, Giunta, Conrad and Kremin understood that Zaycon was
25 desperately in need of a capital infusion.

26

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 1                101.   However, they feared that Great Hill’s investment would change the power
 2 structure in the Company.

 3
                  102.   In particular, Defendants Maresca, Giunta, Conrad and Kremin feared that with
 4
     Great Hill and Braddock being the largest investors in the Company, and with Braddock
 5
     exercising management control in his capacity as Co-managing Member and CEO, they would
 6

 7 no longer be able to control the Company.

 8                103.   Defendants Maresca, Giunta, Conrad and Kremin also recognized that

 9 Braddock’s conversion of his debt to Class A equity as required by Great Hill would increase

10 Braddock’s voting power.

11
                  Conspiracy to Oust Braddock
12
                  104.   Accordingly, Defendants Maresca, Giunta, Conrad and Kremin commenced
13
     looking for a way to get rid of Braddock but to hold onto Great Hill.
14

15                105.   To that end, Defendants Maresca, Giunta, Conrad and Kremin asked Vertical and

16 Shwarts whether Great Hill would complete the contemplated transaction even if they fired

17 Braddock.

18
                  106.   Vertical and Shwarts had touted Braddock’s skills and experience in order to
19
     interest Great Hill in Zaycon in the first place.
20
                  107.   In addition, Vertical and Shwarts knew or should have known that private equity
21
     firms look for experience, leadership and “skin in the game” before committing significant
22

23 capital.

24                108.   On the other hand, Shwarts and Vertical wanted to get rid of Braddock because
25 Shwarts understood that Braddock was losing confidence in Shwarts’s ability to successfully

26

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 1 perform his duties as an investment banker for Zaycon.

 2                109.   Upon information and belief, in an attempt to get rid of Braddock and protect
 3
     their investment banking fees, and in the face of increasing division within the Company,
 4
     Vertical and Shwarts told Maresca, Giunta, Conrad and Kremin that Zaycon could go ahead and
 5
     fire Braddock and remove him from his position as Co-managing Member because Vertical and
 6

 7 Shwarts could close the Great Hill deal even without Braddock.

 8                110.   Upon information and belief, Shwarts went so far as to tell Maresca, Giunta,

 9 Conrad and Kremin that Braddock was not needed because Shwarts would assume the role of

10 CEO of Zaycon once Braddock was gone.

11
                  111.   As a result, although it had been Braddock’s leadership and money which had
12
     put Zaycon on a trajectory to raise investment capital and to fulfill its potential in the first place,
13
     Defendants Zaycon, Maresca, Giunta, Conrad and Kremin decided to immediately terminate
14

15 both Braddock’s employment and his status as Co-managing Member of the Company.

16                112.   Simultaneously, Defendants Zaycon, Maresca, Giunta and Conrad decided to

17 delay providing Braddock with an accurate capitalization chart and the other paperwork

18
     necessary for Braddock to implement the contemplated conversion of his debt to equity as
19
     required by Great Hill.
20
                  113.   As a result, Giunta provided Braddock with two capitalization charts which were
21
     manifestly inaccurate by virtue, among other things, of the fact that they failed to include any
22

23 provision for accrued interest on Braddock’s loans to the Company.

24                114.   To remove Braddock as Co-managing Member under the Company’s Operating
25 Agreement, Defendants Maresca, Giunta, Conrad and Kremin needed 80% of the eligible Class

26

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 1 A Units to vote for Braddock’s removal.

 2                115.   On or about April 19 and 20, 2016, Defendants Maresca, Giunta, Conrad and
 3
     Kremin prepared and signed a document denominated a Consent of Members (the “Consent”)
 4
     resolving that Braddock was to be removed as a manager of Zaycon.
 5
                  116.   In addition, Defendants obtained the signatures of several other members of
 6

 7 Zaycon on the Consent.

 8                117.   On April 21, 2016, without any advance notice or warning of their intentions,

 9 Defendants Maresca and Giunta informed Braddock that the holders of at least 80% of the Class

10 A membership units of Zaycon had voted to remove him as a manager, and that he was being

11
     terminated as an employee.
12
                  118.   Defendants’ termination of Braddock’s status as Co-managing Member and
13
     termination of his employment as CEO was wrongful for several reasons.
14

15                119.   First, as the largest single investor in and largest lender to the Company,

16 Braddock had the right to vote over 20% of the voting units of the Company. Doing so would

17 have prevented Braddock’s termination as CEO and Co-managing Member.

18
                  120.   Indeed, it was the manipulation of the capitalization structure and capitalization
19
     chart of the Company by Defendants Maresca, Giunta, Conrad and Kremin that allowed these
20
     Defendants to take the position that they had 80% of the votes necessary to effectuate
21
     Braddock’s removal as Co-managing Member.
22

23                121.   The manipulation of the Zaycon capitalization structure by Defendants Maresca,

24 Giunta, Conrad and Kremin included failing to properly record all of Braddock’s membership

25 units in the Company’s capitalization chart.

26

     COMPLAINT - 18



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 1                122.   The manipulation of the Zaycon capitalization structure by Defendants Maresca,
 2 Giunta, Conrad and Kremin also included issuing vast quantities of membership units to

 3
     individuals who had invested no money in the Company, including themselves, the fact of which
 4
     was concealed from Braddock. Thus, the issuance of 3,000,000 Class A membership units to
 5
     Conrad and 3,000,000 Class A membership units to Kremin and 1,750,000 Class A membership
 6

 7 units to Maresca had been for no cash consideration. In addition, and to the extent that these

 8 issuances had been for services allegedly performed, they had been vastly disproportionate in

 9 amount as compared to the 250,000 units of equity issued for services to Braddock in lieu of

10 salary in consideration of his employment contract.

11
                  123.   Second, Defendants manipulated the voting process that resulted in the execution
12
     of the Consent by fraudulently inducing certain Zaycon members to vote for Braddock’s
13
     removal, thereby improperly obtaining the 80% majority necessary to oust Braddock as Co-
14

15 managing Member under the Operating Agreement.

16                124.   Specifically, to get the signatures of other members of Zaycon on the Consent,

17 Defendants falsely and fraudulently told them that Braddock was opposed to the deal with Great

18
     Hill and that he would kill it.
19
                  125.   In the case of Zaycon member Nathan Brown, Conrad and Giunta each called
20
     him to urge him to vote for the removal of Braddock on the alleged grounds that Braddock
21
     would sabotage the deal with Great Hill. In each instance, Brown withheld his consent. It was
22

23 only when he received a third call telling him that Braddock was opposed to the deal with Great

24 Hill – this one from Shwarts – that Brown concluded that the allegations against Braddock must

25 be true and that he agreed to sign the Consent.

26

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 1                126.   Defendants further manipulated the voting process by conducting the purported
 2 vote in secret without a meeting or even notice or any opportunity for a discussion during which

 3
     Braddock could have set the record straight and been heard by his fellow members before they
 4
     voted.
 5
                  127.   Third, Defendants acted wrongfully by withholding information and documents
 6

 7 from Braddock which he needed in order to effectuate his already announced intended exercise

 8 of his right to convert the debt owed to him into Class A voting equity, and to exercise his option

 9 to buy additional Class A membership units. Braddock’s conversion of his debt to Class A

10 voting equity as required by Great Hill and his purchase of additional Class A membership units

11
     would have deprived Defendants of their purported 80% voting majority. Accordingly, by
12
     failing to provide Braddock with an accurate capitalization chart and the other paperwork he
13
     required, Defendants prevented Braddock from exercising his conversion rights and purchasing
14

15 additional Class A units in time to vote against, and thus prevent, his ouster as Co-managing

16 Member.

17                128.   In short, after Braddock had put Zaycon on an impressive trajectory, Defendants
18
     conspired to wrongfully remove him as Co-managing Member and to terminate his employment
19
     contract.
20
                  129.   Defendants Maresca, Giunta, Conrad and Kremin did so in order to further their
21
     own self-interest.
22

23                130.   Defendants Maresca, Giunta, Conrad and Kremin did so in order to maintain

24 control of the Company.

25                131.   Defendants Maresca, Giunta, Conrad and Kremin did so despite the fact that it
26

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 1 would have been in the best interests of the Company to retain Braddock and to complete the

 2 Great Hill transaction.

 3
                  132.   Defendants Maresca, Giunta, Conrad and Kremin did so despite the fact that
 4
     Braddock had been bankrolling the Company for them.
 5
                  133.   Defendants Maresca, Giunta, Conrad and Kremin did so despite the fact that their
 6

 7 own investments in the Company were considerably smaller than Braddock’s or non-existent.

 8                134.   Defendants Maresca, Giunta, Conrad and Kremin did so despite the fact that they

 9 had utilized Braddock’s involvement and investment in Zaycon to elicit Great Hill’s interest in

10 the first place.

11
                  135.   Defendants Maresca, Giunta, Conrad and Kremin did so in the misguided belief
12
     that Great Hill would proceed with its investment even after Braddock had been removed from
13
     management.
14

15                136.   Defendants Maresca, Giunta, Conrad and Kremin did so despite the fact that the

16 Company’s interference with Braddock’s exercise of his options prevented the Company from

17 being debt free as required by Great Hill.

18
                  137.   Zaycon’s April 21, 2016 letter to Braddock notifying him of the termination of
19
     his employment and of his status as Co-managing Member stated that Giunta had been appointed
20
     as a replacement manager.
21
                  138.   However, on or about July 6, 2016 Giunta resigned as the co-manager of Zaycon.
22

23                139.   Upon information and belief, no one has replaced Giunta as co-manager.

24                140.   Maresca now runs the Company as its sole managing member in violation of
25 Section 4.1 of the Operating Agreement, which states that “[t]he Company shall be managed by

26

     COMPLAINT - 21



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 1 two managers.”

 2                141.   Maresca now runs the Company on a part time basis.
 3
                  142.   Maresca now runs the Company as a private fiefdom without providing adequate
 4
     or often any disclosure to the other members.
 5
                  143.   Each and every act taken by Maresca as the sole manager of Zaycon since the
 6

 7 resignation of Giunta has been invalid and non-binding on the Company under the Operating

 8 Agreement.

 9                144.   Defendants’ termination of Braddock’s employment as CEO left the Company
10 or its members indebted to Braddock under the Operating Agreement in the amount of the value

11
     of his membership interest.
12
                  145.   When Braddock brought this to the attention of the Company he was told that it
13
     was anticipated that the Company would buy his interest with proceeds generated in the Great
14

15 Hill transaction.

16                146.   However, after the removal of Braddock as a co-manager and the termination of

17 his employment contract as CEO, Great Hill declined to invest in Zaycon.

18
                  147.   This left the Company starved for necessary capital to expand and grow and on
19
     the verge of insolvency.
20
                  148.   It also left the Company unable to pay the amounts owed to Braddock.
21
                  149.   On or about June 27, 2016, Braddock brought a new private equity financing
22

23 proposal to the Company from a private equity firm by the name of Spring Lake Equity Partners

24 (“Spring Lake”).

25                150.   The Spring Lake Proposal contemplated the investment of $7 million of
26

     COMPLAINT - 22



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 1 desperately needed fresh capital into Zaycon.

 2                151.   Defendants rejected the Spring Lake proposal out of hand.
 3
                  152.   In addition, although Spring Lake asked Defendants for a counter-proposal,
 4
     Defendants refused to provide one.
 5
                  153.   Defendants’ actions have caused the Company to lose two excellent financing
 6

 7 opportunities, either of which could have provided the Company with the capital necessary to

 8 allow it to grow and flourish.

 9                154.   Defendants’ actions have deprived the Company of much needed capital.
10                155.   Defendants’ actions have deprived the Company of experienced leadership.
11
                  156.   Since the wrongful removal of Braddock as a co-Manager and the wrongful
12
     termination of his employment contract, Defendants have failed to apprise Braddock of
13
     significant developments affecting both his interest in the Company and the Company itself.
14

15                157.   Likewise, since the wrongful removal of Braddock as a co-Manager and the

16 wrongful termination of his employment contract, Defendants have prevented or sought to

17 prevent Braddock from obtaining information and documents about Zaycon by interfering with

18
     Braddock’s attempts to obtain such information and documents from other Zaycon owners and
19
     employees.
20
                  158.   Braddock brings this action to recover damages for violations of the Securities
21
     Exchange Act of 1934, Rule 10b-5 promulgated thereunder, Washington State securities laws,
22

23 common law fraud, negligence, breach of contract, breach of fiduciary duty, and aiding and

24 abetting breach of fiduciary duty in an amount to be established at trial in excess of $6.5 million

25 dollars, and for a declaratory judgment that some or all of the membership units issued to

26

     COMPLAINT - 23



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 1 Conrad, Maresca and Kremin and others are void.

 2

 3
                                             V.     FIRST CLAIM
 4
                  (Violation of Section 10(b) of the Securities Exchange Act and Rule 10b-5)
 5
                  159.   Plaintiff repeats and realleges each and every allegation contained above as if
 6

 7 fully set forth herein.

 8                160.   Defendants: (a) employed devices, schemes and artifices to defraud; (b) made

 9 untrue statements of material fact and/or omitted to state material facts necessary to make their

10 statements not misleading; and (c) engaged in acts, practices and a course of business which

11
     operated as a fraud and deceit upon Braddock.
12
                  161.   Defendants, individually and in concert, directly and indirectly, by the use,
13
     means or instrumentalities of interstate commerce and/or the mails, engaged and participated in
14

15 a continuous course of conduct involving materially false and misleading statements, to mislead

16 and defraud Braddock.

17                162.   Certain of these misrepresentations and omissions were fraudulently contained
18
     in the Second Amended and Restated Operating Agreement of Zaycon Foods dated November
19
     1, 2012, a copy of which, as amended, was provided to Braddock during or about the summer
20
     of 2014.
21
                  163.   The Operating Agreement falsely stated that the number of Class A Units which
22

23 had been issued to Mike Conrad was 1,375,000.

24                164.   The Operating Agreement falsely stated that the number of Class A units which
25 had been issued to Adam Kremin was 1,375,000.

26

     COMPLAINT - 24



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 1                165.   The Operating Agreement falsely stated that the number of Class A Units which
 2 had been issued to Frank Maresca was 750,000.

 3
                  166.   The Operating Agreement falsely stated that the total number of Class A Units
 4
     which had been issued to Zaycon members was 5,500,000.
 5
                  167.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
 6

 7 had been issued to Conrad.

 8                168.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units

 9 had been issued to Kremin.

10                169.   The Operating Agreement failed to disclose that at least 1,750,000 Class A Units
11
     had been issued to Maresca.
12
                  170.   The Operating Agreement failed to disclose that over 3,000,000 Class A Units
13
     had been issued to Giunta.
14

15                171.   The Operating Agreement failed to disclose that the total number of Class A

16 Units which had been issued to Zaycon members was over 14,881,000.

17                172.   Additional fraudulent misrepresentations and omissions were made in a series of
18
     meetings in New York and Colorado and during telephone conversations while Braddock was
19
     in New York or Colorado which began during mid-2014 and continued until January 2016.
20
                  173.   During these meetings and telephone conversations, each of the Individual
21
     Defendants, acting on behalf of himself and Zaycon and the other Individual Defendants,
22

23 misrepresented a) that the Individual Defendants and other investors had placed substantial sums

24 into the Company; and b) that an accurate capitalization chart was in the process of being

25 prepared and would be provided to Braddock as soon as it was ready.

26

     COMPLAINT - 25



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 1                174.   In addition, Defendants, individually and in concert, directly and indirectly, by
 2 the use, means or instrumentalities of interstate commerce and/or the mails, engaged and

 3
     participated in a continuous course of conduct to conceal material adverse information about the
 4
     business, operations and future prospects of Zaycon from Braddock.
 5
                  175.   In particular, during these meetings and telephone conversations, each of the
 6

 7 Individual Defendants, acting on behalf of himself and Zaycon and the other Individual

 8 Defendants, fraudulently failed to inform Braddock that a) DFI had initiated an action against

 9 Conrad in 2009; b) DFI had issued a Cease and Desist Order as to Conrad in January 2010; c)

10 DFI had initiated an action against Kremin in 2009; d) DFI had issued a Cease and Desist Order

11
     as to Kremin in January 2010; e) Conrad had gone into personal bankruptcy in 2010; f) Maresca
12
     had been a creditor in Conrad’s bankruptcy proceeding; g) Maresca had been given his interest
13
     in the Company for little or no consideration; h) Maresca owned at least 1,000,000 more voting
14

15 units than the number of voting units set forth in Zaycon’s Operating Agreement; i) Kremin had

16 been a creditor in Conrad’s bankruptcy proceeding; j) Kremin had been given his interest in the

17 Company for little or no consideration; k) Kremin owned at least 1,625,000 more voting units

18
     than the number of voting units described in Zaycon’s Operating Agreement; l) the law firm
19
     which prepared Zaycon’s Operating Agreement had been a creditor in Conrad’s bankruptcy
20
     proceeding; m) Conrad had been given his own interest in the Company for little or no
21
     consideration; n) Conrad owned at least 1,625,000 more voting units than the number of voting
22

23 units described in Zaycon’s Operating Agreement; and o) Giunta owned over 3,000,000 voting

24 units which were not referenced in the Operating Agreement.

25                176.   During the period from mid-2014 through January 2016, Maresca, Giunta,
26

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 1 Conrad and Kremin, individually and on behalf of Zaycon and one another, continued to make

 2 the Misrepresentations and Omissions, orally and in writing, to Braddock in connection with

 3
     solicitations of additional capital and loans from Braddock.
 4
                  177.   Each of Braddock’s decisions to acquire Zaycon securities was made in reliance
 5
     on the Misrepresentations and Omissions made by Maresca, Giunta, Conrad and Kremin.
 6

 7                178.   The Misrepresentations and Omissions used to solicit or induce Braddock to

 8 invest and/or loan money into and for Zaycon made by Maresca, Giunta, Conrad and Kremin

 9 were respectively false and fraudulent, or operated as a falsehood and a fraud on Braddock.

10                179.   Braddock would not have invested in Zaycon if Defendants Maresca, Giunta,
11
     Conrad and Kremin had not made misrepresentations, and if Braddock had known the facts
12
     which Defendants Maresca, Giunta, Conrad and Kremin, in each case individually and on behalf
13
     of one another and Zaycon, failed to disclose.
14

15                180.   Braddock’s agreements to invest in Zaycon and to loan money to Zaycon were

16 made in reliance on the fraudulent Misrepresentations and Omissions made by Defendants

17 Maresca, Giunta, Conrad and Kremin.

18
                  181.   The fraudulent Misrepresentations and Omissions made by Defendants Maresca,
19
     Giunta, Conrad and Kremin were material.
20
                  182.   At the time Defendants Maresca, Giunta, Conrad and Kremin made the above
21
     referenced fraudulent Misrepresentations and Omissions, Defendants Maresca, Giunta, Conrad
22

23 and Kremin knew that their Misrepresentations and Omissions were fraudulent.

24                183.   Defendants Maresca, Giunta, Conrad and Kremin made their fraudulent
25 Misrepresentations and Omissions with the intent to deceive Braddock.

26

     COMPLAINT - 27



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 1                184.   Defendants Maresca, Giunta, Conrad and Kremin made their fraudulent
 2 Misrepresentations and Omissions with intent to induce Braddock to join Zaycon and to invest

 3
     in Zaycon.
 4
                  185.   Defendants Maresca, Giunta, Conrad and Kremin made their fraudulent
 5
     Misrepresentations and Omissions with reckless disregard for truth or falsity.
 6

 7                186.   Braddock reasonably relied upon the fraudulent Misrepresentations and

 8 Omissions made by Maresca, Giunta, Conrad and Kremin to his detriment.

 9                187.   Each of the fraudulent Misrepresentations and Omissions made by Defendants
10 Maresca, Giunta, Conrad and Kremin caused Braddock to sustain damages.

11
                  188.   The fraudulent Misrepresentations and Omissions made by Maresca, Giunta,
12
     Conrad and Kremin have caused Braddock to lose his entire investment in Zaycon.
13
                  189.   The fraudulent Misrepresentations and Omissions made by Maresca, Giunta,
14

15 Conrad and Kremin have caused Braddock to lose the money he loaned to Zaycon.

16                190.   The allegations set forth above establish a strong inference that the Defendants

17 acted with scienter in that they had actual knowledge of the Misrepresentations and Omissions,

18
     or acted with reckless disregard for the truth in that they failed to ascertain and disclose material
19
     facts. Defendants’ material misrepresentations and/or omissions were made knowingly and/or
20
     with recklessness disregard for the truth and for the purpose and with the effect of concealing
21
     the truth from Braddock.
22

23                191.   Defendants herein are sued either as primary participants in the wrongful and

24 illegal conduct charged herein or as controlling persons with ultimate authority over the

25 Misrepresentations and Omissions alleged herein.

26

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 1                192.   Braddock has been caused to sustain losses and damages as a result of
 2 Defendants’ Misrepresentations and Omissions.

 3
                  193.   Braddock would not have purchased any interest in Zaycon if he had been aware
 4
     that the ownership and voting structure of Zaycon had been artificially manipulated by
 5
     Defendants’ fraudulent scheme, misleading statements, misrepresentations and material
 6

 7 omissions.

 8                194.   At the time of Defendants’ materially false representations and omissions,

 9 Braddock was ignorant of the falsity of the statements made and of the facts omitted.

10                195.   As a direct and proximate result of Defendants’ wrongful conduct, Braddock has
11
     sustained damages in connection with his interest in Zaycon in an amount to be established at
12
     trial in excess of $6,500,000.
13
                                           VI.     SECOND CLAIM
14
                  (Violation of RCW 21.20.010 – Unlawful Offers, Sales and Purchases of Security)
15
                  196.   Plaintiff repeats and realleges each and every allegation contained above as if
16

17 fully set forth herein.

18                197.   Zaycon was a seller of Zaycon securities to Braddock for purposes of RCW

19 21.20.010.

20
                  198.   Conrad was a seller of Zaycon securities to Braddock for purposes of RCW
21
     21.20.010.
22
                  199.   Kremin was a seller of Zaycon securities to Braddock for purposes of RCW
23
     21.20.010.
24

25                200.   Maresca was a seller of Zaycon securities to Braddock for purposes of RCW

26 21.20.010.

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 1                201.   Giunta was a seller of Zaycon securities to Braddock for purposes of RCW
 2 21.20.010.

 3
                  202.   In connection with the sales of securities to Braddock and the purchase of
 4
     securities by Braddock in Zaycon, Defendants violated RCW 21.20.010 by directly or indirectly
 5
     making untrue statements of material fact and/or omitting to state material facts necessary in
 6

 7 order to make the statements made, in the light of the circumstances under which they were

 8 made, not misleading, and by engaging in acts, practices, or a course of business which operated

 9 as a fraud or deceit upon Braddock.

10                203.   Certain of these misrepresentations and omissions were fraudulently contained
11
     in the Second Amended and Restated Operating Agreement of Zaycon Foods dated November
12
     1, 2012, a copy of which, as amended, was provided to Braddock during or about the summer
13
     of 2014.
14

15                204.   The Operating Agreement falsely stated that the number of Class A Units which

16 had been issued to Mike Conrad was 1,375,000.

17                205.   The Operating Agreement falsely stated that the number of Class A units which
18
     had been issued to Adam Kremin was 1,375,000.
19
                  206.   The Operating Agreement falsely stated that the number of Class A Units which
20
     had been issued to Frank Maresca was 750,000.
21
                  207.   The Operating Agreement falsely stated that the total number of Class A Units
22

23 which had been issued to Zaycon members was 5,500,000.

24                208.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
25 had been issued to Conrad.

26

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 1                209.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
 2 had been issued to Kremin.

 3
                  210.   The Operating Agreement failed to disclose that at least 1,750,000 Class A Units
 4
     had been issued to Maresca.
 5
                  211.   The Operating Agreement failed to disclose that over 3,000,000 Class A Units
 6

 7 had been issued to Giunta.

 8                212.   The Operating Agreement failed to disclose that the total number of Class A

 9 Units which had been issued to Zaycon members was over 14,881,000.

10                213.   Additional fraudulent misrepresentations and omissions were made in a series of
11
     meetings in New York and Colorado and during telephone conversations while Braddock was
12
     in New York or Colorado which began during mid-2014 and continued until January 2016.
13
                  214.   During these meetings and telephone conversations, each of the Individual
14

15 Defendants, acting on behalf of himself and Zaycon and the other Individual Defendants,

16 misrepresented a) that the Individual Defendants and other investors had placed substantial sums

17 into the Company; and b) that an accurate capitalization chart was in the process of being

18
     prepared and would be provided to Braddock as soon as it was ready.
19
                  215.   In addition, during these meetings and telephone conversations, each of the
20
     Individual Defendants, acting on behalf of himself and Zaycon and the other Individual
21
     Defendants, fraudulently failed to inform Braddock that a) DFI had initiated an action against
22

23 Conrad in 2009; b) DFI had issued a Cease and Desist Order as to Conrad in January 2010; c)

24 DFI had initiated an action against Kremin in 2009; d) DFI had issued a Cease and Desist Order

25 as to Kremin in January 2010; e) Conrad had gone into personal bankruptcy in 2010; f) Maresca

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 1 had been a creditor in Conrad’s bankruptcy proceeding; g) Maresca had been given his interest

 2 in the Company for little or no consideration; h) Maresca owned at least 1,000,000 more voting

 3
     units than the number of voting units set forth in Zaycon’s Operating Agreement; i) Kremin had
 4
     been a creditor in Conrad’s bankruptcy proceeding; j) Kremin had been given his interest in the
 5
     Company for little or no consideration; k) Kremin owned at least 1,625,000 more voting units
 6

 7 than the number of voting units described in Zaycon’s Operating Agreement; l) the law firm

 8 which prepared Zaycon’s Operating Agreement had been a creditor in Conrad’s bankruptcy

 9 proceeding; m) Conrad had been given his own interest in the Company for little or no

10 consideration; n) Conrad owned at least 1,625,000 more voting units than the number of voting

11
     units described in Zaycon’s Operating Agreement; and o) Giunta owned over 3,000,000 voting
12
     units which were not referenced in the Operating Agreement.
13
                  216.   During the period from mid-2014 through January 2016, Maresca, Giunta,
14

15 Conrad and Kremin, individually and on behalf of Zaycon and one another, continued to make

16 the Misrepresentations and Omissions, orally and in writing, to Braddock in connection with

17 solicitations of additional capital and loans from Braddock.

18
                  217.   Defendants made the Misrepresentations.
19
                  218.   Defendants made the Omissions.
20
                  219.   Defendants acted with intent to defraud Braddock.
21
                  220.   Braddock did not know of the Misrepresentations and Omissions.
22

23                221.   Defendants’ Misrepresentations and Omissions were material to the purchase of

24 Zaycon securities by Braddock.

25                222.   Braddock reasonably relied on Defendants’ Misrepresentations and Omissions.
26

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 1                223.   Braddock would not have purchased Zaycon securities but for the
 2 Misrepresentations and Omissions.

 3
                  224.   Braddock has suffered damages proximately caused by Defendants’ violations
 4
     of RCW 21.20.010 in an amount to be established at trial in excess of $6,500,000.
 5
                                              VII.   THIRD CLAIM
 6
        (Conrad’s Liability under RCW 21.20.430 –Violation of DFI Cease and Desist Order)
 7
                  225.   Plaintiff repeats and realleges each and every allegation contained above as if
 8

 9 fully set forth herein.

10                226.   Conrad’s participation in the sale of securities to Braddock was in direct violation

11 of the January 27, 2010, DFI Cease and Desist Order which expressly precluded Conrad from

12 (i) violating RCW 21.20.140 by offering or selling securities for which there was no registration

13
   on file with the Washington State Securities Administration; (ii) violating RCW 21.20.040 by
14
   offering or selling securities while not registered as a salesperson or broker-dealer in the State
15
   of Washington; and (iii) violating RCW 21.20.010 by making misstatements of material fact or
16

17 omitting to state material facts necessary in order to make the statements made, in light of the

18 circumstances under which they were made, not misleading.

19                227.   Conrad offered and/or sold securities for which there was no registration on file
20
     with the Washington State Securities Administration.
21
                  228.   Conrad offered and/or sold securities while not registered as a salesperson or
22
     broker-dealer in the State of Washington.
23
                  229.   Conrad offered and/or sold securities by making misstatements of material fact
24

25 or omitting to state material facts necessary in order to make the statements made, in light of the

26 circumstances under which they were made, not misleading.

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 1                230.   Based upon the foregoing, Conrad violated the January 27, 2010 DFI Cease and
 2 Desist Order.

 3
                  231.   Conrad is liable to Braddock for all damages caused to Braddock, and for all
 4
     remedies to which Braddock is entitled, as the result of his violations of RCW 21.20.010, RCW
 5
     21.20.040 and RCW 21.20.140 in selling Zaycon securities to Braddock in an amount to be
 6

 7 established at trial in excess of $6,500,000.

 8                                          VIII. FOURTH CLAIM

 9     (Kremin’s Liability under RCW 21.20.430 – Violation of DFI Cease and Desist Order)

10                232.   Plaintiff repeats and realleges each and every allegation contained above as if

11 fully set forth herein.

12                233.   Kremin’s participation in the sale of securities to Braddock was in direct
13
     violation of the January 27, 2010 DFI Cease and Desist Order which expressly precluded
14
     Kremin from (i) violating RCW 21.20.140 by offering or selling securities for which there was
15
     no registration on file with the Washington State Securities Administration; (ii) violating RCW
16

17 21.20.040 by offering or selling securities while not registered as a salesperson or broker-dealer

18 in the State of Washington, and (iii) violating RCW 21.20.010 by making misstatements of

19 material fact or omission to state material facts necessary in order to make the statements made,

20
     in light of the circumstances under which they were made, not misleading.
21
                  234.   Kremin offered and/or sold securities for which there was no registration on file
22
     with the Washington State Securities Administration.
23
                  235.   Kremin offered and/or sold securities while not registered as a salesperson or
24

25 broker-dealer in the State of Washington.

26                236.   Kremin offered and/or sold securities by making misstatements of material fact

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 1 or omitting to state material facts necessary in order to make the statements made, in light of the

 2 circumstances under which they were made, not misleading.

 3
                  237.   Based upon the foregoing, Kremin violated the January 27, 2010 DFI Cease and
 4
     Desist Order.
 5
                  238.   Kremin is liable to Braddock for all damages caused to Braddock, and for all
 6

 7 remedies to which Braddock is entitled, as the result of his violations of RCW 21.20.010, RCW

 8 21.20.040 and RCW 21.20.140 in selling Zaycon securities to Braddock in an amount to be

 9 established at trial in excess of $6,500,000.

10                                            IX.    FIFTH CLAIM
11                                   (Fraud Claim Against All Defendants)
12                239.   Plaintiff repeats and realleges each and every allegation set forth above as if set
13
     forth fully and length herein.
14
                  240.   During or about mid-2014, Maresca, Giunta, Conrad and Kremin, individually
15
     and on behalf of Zaycon and one another, aggressively pursued Braddock in order to interest
16

17 him in investing in Zaycon.

18                241.   Maresca, Giunta, Conrad and Kremin, individually and on behalf of Zaycon and

19 one another, made various Misrepresentations and Omissions to Braddock, orally and in writing,

20
     in an effort to solicit Braddock’s financial and managerial involvement in Zaycon.
21
                  242.   Certain of these misrepresentations and omissions were fraudulently contained
22
     in the Second Amended and Restated Operating Agreement of Zaycon Foods dated November
23
     1, 2012, a copy of which, as amended, was provided to Braddock during or about the summer
24

25 of 2014.

26                243.   The Operating Agreement falsely stated that the number of Class A Units which

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 1 had been issued to Mike Conrad was 1,375,000.

 2                244.   The Operating Agreement falsely stated that the number of Class A units which
 3
     had been issued to Adam Kremin was 1,375,000.
 4
                  245.   The Operating Agreement falsely stated that the number of Class A Units which
 5
     had been issued to Frank Maresca was 750,000.
 6

 7                246.   The Operating Agreement falsely stated that the total number of Class A Units

 8 which had been issued to Zaycon members was 5,500,000.

 9                247.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
10 had been issued to Conrad.

11
                  248.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
12
     had been issued to Kremin.
13
                  249.   The Operating Agreement failed to disclose that at least 1,750,000 Class A Units
14

15 had been issued to Maresca.

16                250.   The Operating Agreement failed to disclose that over 3,000,000 Class A Units

17 had been issued to Giunta.

18
                  251.   The Operating Agreement failed to disclose that the total number of Class A
19
     Units which had been issued to Zaycon members was over 14,881,000.
20
                  252.   Additional fraudulent misrepresentations and omissions were made in a series of
21
     meetings in New York and Colorado and during telephone conversations while Braddock was
22

23 in New York or Colorado which began during mid-2014 and continued until January 2016.

24                253.   During these meetings and telephone conversations, each of the Individual
25 Defendants, acting on behalf of himself and Zaycon and the other Individual Defendant,

26

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 1 misrepresented a) that the Individual Defendants and other investors had placed substantial sums

 2 into the Company; and b) that an accurate capitalization chart was in the process of being

 3
     prepared and would be provided to Braddock as soon as it was ready.
 4
                  254.   In addition, during these meetings and telephone conversations, each of the
 5
     Individual Defendants, acting on behalf of himself and Zaycon and the other Individual
 6

 7 Defendants, fraudulently failed to inform Braddock that a) DFI had initiated an action against

 8 Conrad in 2009; b) DFI had issued a Cease and Desist Order as to Conrad in January 2010; c)

 9 DFI had initiated an action against Kremin in 2009; d) DFI had issued a Cease and Desist Order

10 as to Kremin in January 2010; e) Conrad had gone into personal bankruptcy in 2010; f) Maresca

11
     had been a creditor in Conrad’s bankruptcy proceeding; g) Maresca had been given his interest
12
     in the Company for little or no consideration; h) Maresca owned at least 1,000,000 more voting
13
     units than the number of voting units set forth in Zaycon’s Operating Agreement; i) Kremin had
14

15 been a creditor in Conrad’s bankruptcy proceeding; j) Kremin had been given his interest in the

16 Company for little or no consideration; k) Kremin owned at least 1,625,000 more voting units

17 than the number of voting units described in Zaycon’s Operating Agreement; l) the law firm

18
     which prepared Zaycon’s Operating Agreement had been a creditor in Conrad’s bankruptcy
19
     proceeding; m) Conrad had been given his own interest in the Company for little or no
20
     consideration; n) Conrad owned at least 1,625,000 more voting units than the number of voting
21
     units described in Zaycon’s Operating Agreement; and o) Giunta owned over 3,000,000 voting
22

23 units which were not referenced in the Operating Agreement.

24                255.   During the period from mid-2014 through January 2016, Maresca, Giunta,
25 Conrad and Kremin, individually and on behalf of Zaycon and one another, continued to make

26

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 1 the Misrepresentations and Omissions, orally and in writing, to Braddock in connection with

 2 solicitations of additional capital and loans from Braddock.

 3
                  256.   Each of Braddock’s decisions to acquire Zaycon securities was made in reliance
 4
     on the Misrepresentations and Omissions made by Maresca, Giunta, Conrad and Kremin.
 5
                  257.   The Misrepresentations and Omissions used to solicit or induce Braddock to
 6

 7 invest and/or loan money into and for Zaycon made by Maresca, Giunta, Conrad and Kremin

 8 were false.

 9                258.   Braddock would not have invested in Zaycon but for the Misrepresentations and
10 Omissions.

11
                  259.   Braddock’s agreements to invest in Zaycon and to loan money to Zaycon were
12
     made in reliance on the fraudulent Misrepresentations and Omissions made by Defendants
13
     Maresca, Giunta, Conrad and Kremin.
14

15                260.   The fraudulent Misrepresentations and Omissions made by Defendants Maresca,

16 Giunta, Conrad and Kremin were material.

17                261.   At the time Defendants Maresca, Giunta, Conrad and Kremin made the above
18
     referenced fraudulent Misrepresentations and Omissions, Defendants Maresca, Giunta, Conrad
19
     and Kremin knew that their Misrepresentations and Omissions were fraudulent.
20
                  262.   Defendants Maresca, Giunta, Conrad and Kremin made their fraudulent
21
     Misrepresentations and Omissions with the intent to deceive Braddock.
22

23                263.   Defendants Maresca, Giunta, Conrad and Kremin made their fraudulent

24 Misrepresentations and Omissions with intent to induce Braddock to join Zaycon and to invest

25 in Zaycon.

26

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 1                264.   Defendants Maresca, Giunta, Conrad and Kremin made their fraudulent
 2 Misrepresentations and Omissions with reckless disregard for truth or falsity.

 3
                  265.   Braddock reasonably relied upon the fraudulent Misrepresentations and
 4
     Omissions made by Maresca, Giunta, Conrad and Kremin to his detriment.
 5
                  266.   Each of the fraudulent Misrepresentations and Omissions made by Defendants
 6

 7 Maresca, Giunta, Conrad and Kremin caused Braddock to sustain damages.

 8                267.   The fraudulent Misrepresentations and Omissions made by Maresca, Giunta,

 9 Conrad and Kremin have caused Braddock to lose his entire investment in Zaycon.

10                268.   The fraudulent Misrepresentations and Omissions made by Maresca, Giunta,
11
     Conrad and Kremin have caused Braddock to lose the money he loaned to Zaycon.
12
                  269.   The wrongdoing of Maresca, Giunta, Conrad and Kremin was intentional,
13
     wanton, outrageous, morally culpable, and perpetrated with wrongful, reckless and malicious
14

15 disregard for the rights of Zaycon and its members, including Braddock.

16                270.   As a direct and proximate result of Defendants’ wrongful conduct, Braddock

17 has sustained damages in connection with his interest in Zaycon in an amount to be established

18
     at trial in excess of $6,500,000.
19
                                              X.     SIXTH CLAIM
20
                            (Negligent Misrepresentation Against All Defendants)
21
                  271.   Plaintiff repeats and realleges each and every allegation set forth above as if set
22
     forth fully and at length herein.
23
                  272.   Defendants had a duty to provide Braddock with complete and accurate
24

25 information respecting Zaycon, including but not limited to information respecting its

26 capitalization, prospects, risks and ownership.

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 1                273.   Defendants Zaycon, Maresca, Giunta, Conrad and Kremin, acting on behalf of
 2 one another and Zaycon, negligently supplied Braddock with false and misleading information

 3
     respecting Zaycon’s capitalization, prospects, risks and ownership prior to each of Braddock’s
 4
     investments and loans into Zaycon.
 5
                  274.   Certain of Defendants’ misrepresentations and omissions were negligently
 6

 7 contained in the Second Amended and Restated Operating Agreement of Zaycon Foods dated

 8 November 1, 2012, a copy of which, as amended, was provided to Braddock during or about the

 9 summer of 2014.

10                275.   The Operating Agreement falsely stated that the number of Class A Units which
11
     had been issued to Mike Conrad was 1,375,000.
12
                  276.   The Operating Agreement falsely stated that the number of Class A units which
13
     had been issued to Adam Kremin was 1,375,000.
14

15                277.   The Operating Agreement falsely stated that the number of Class A Units which

16 had been issued to Frank Maresca was 750,000.

17                278.   The Operating Agreement falsely stated that the total number of Class A Units
18
     which had been issued to Zaycon members was 5,500,000.
19
                  279.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
20
     had been issued to Conrad.
21
                  280.   The Operating Agreement failed to disclose that at least 3,000,000 Class A Units
22

23 had been issued to Kremin.

24                281.   The Operating Agreement failed to disclose that at least 1,750,000 Class A Units
25 had been issued to Maresca.

26

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 1                282.   The Operating Agreement failed to disclose that over 3,000,000 Class A Units
 2 had been issued to Giunta.

 3
                  283.   The Operating Agreement failed to disclose that the total number of Class A
 4
     Units which had been issued to Zaycon members was over 14,881,000.
 5
                  284.   Defendants Zaycon, Maresca, Giunta, Conrad and Kremin, acting on behalf of
 6

 7 one another and Zaycon, also made negligent misrepresentations to Braddock by

 8 misrepresenting a) that the Individual Defendants and other investors had placed substantial

 9 sums into the Company; and b) that an accurate capitalization chart was in the process of being

10 prepared and would be provided to Braddock as soon as it was ready.

11
                  285.   In addition, Defendants Zaycon, Maresca, Giunta, Conrad and Kremin, acting on
12
     behalf of one another and Zaycon, negligently failed to inform Braddock that a) DFI had
13
     initiated an action against Conrad in 2009; b) DFI had issued a Cease and Desist Order as to
14

15 Conrad in January 2010; c) DFI had initiated an action against Kremin in 2009; d) DFI had

16 issued a Cease and Desist Order as to Kremin in January 2010; e) Conrad had gone into personal

17 bankruptcy in 2010; f) Maresca had been a creditor in Conrad’s bankruptcy proceeding; g)

18
     Maresca had been given his interest in the Company for little or no consideration; h) Maresca
19
     owned at least 1,000,000 more voting units than the number of voting units set forth in Zaycon’s
20
     Operating Agreement; i) Kremin had been a creditor in Conrad’s bankruptcy proceeding; j)
21
     Kremin had been given his interest in the Company for little or no consideration; k) Kremin
22

23 owned at least 1,625,000 more voting units than the number of voting units described in

24 Zaycon’s Operating Agreement; l) the law firm which prepared Zaycon’s Operating Agreement

25 had been a creditor in Conrad’s bankruptcy proceeding; m) Conrad had been given his own

26

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 1 interest in the Company for little or no consideration; n) Conrad owned at least 1,625,000 more

 2 voting units than the number of voting units described in Zaycon’s Operating Agreement; and

 3
     o) Giunta owned over 3,000,000 voting units which were not referenced in the Operating
 4
     Agreement.
 5
                  286.   Braddock relied on the materially false and misleading statements and/or the
 6

 7 non-disclosure of material adverse facts by Defendants in making his investments in Zaycon

 8 from August 2014 through January 2016.

 9                287.   Braddock’s reliance on the materially false and misleading statements made by
10 Defendants and/or on their non-disclosure of material adverse facts was reasonable and justified.

11
                  288.   The false and misleading information supplied and furnished by Defendants was
12
     the proximate cause of the damages sustained by Braddock.
13
                  289.   As a direct and proximate result of Defendants’ wrongful conduct, Braddock has
14

15 sustained damages in connection with his interest in Zaycon in an amount to be established at

16 trial in excess of $6,500,000.

17                                         XI.     SEVENTH CLAIM
18                                         (Breach of Fiduciary Duty)
19                290.   Plaintiff repeats and realleges each and every allegation set forth above as if set
20
     forth fully and at length herein.
21
                  291.   Plaintiff asserts this claim against Defendants Maresca, Giunta and Conrad.
22
                  292.   As managers and control persons of Zaycon, Maresca, Giunta and Conrad owed
23
     fiduciary duties of loyalty, due care, good faith/fair dealing, candor and full disclosure of all
24

25 material facts to the Company and to its members and to Braddock in his capacity as a member

26 and as Co-managing Member of Zaycon.

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 1                293.   Braddock reasonably and justifiably reposed his trust and confidence in Maresca,
 2 Giunta and Conrad to properly perform their duties in connection with the Company and to deal

 3
     fairly and act with loyalty, due care and candor and in good faith and to provide full disclosure.
 4
                  294.   Maresca, Giunta and Conrad breached their fiduciary duties of loyalty, due care,
 5
     good faith/fair dealing, candor, and full disclosure to Braddock by misrepresenting a) that the
 6

 7 Individual Defendants and other investors had placed substantial sums into the Company; and

 8 b) that an accurate capitalization chart was in the process of being prepared and would be

 9 provided to Braddock as soon as it was ready.

10                295.   Maresca, Giunta and Conrad further breached their fiduciary duties of loyalty,
11
     due care, good faith/fair dealing, candor and full disclosure to Braddock by failing to inform
12
     Braddock that a) DFI had initiated an action against Conrad in 2009; b) DFI had issued a Cease
13
     and Desist Order as to Conrad in January 2010; c) DFI had initiated an action against Kremin
14

15 in 2009; d) DFI had issued a Cease and Desist Order as to Kremin in January 2010; e) Conrad

16 had gone into personal bankruptcy in 2010; f) Maresca had been a creditor in Conrad’s

17 bankruptcy proceeding; g) Maresca had been given his interest in the Company for little or no

18
     consideration; h) Maresca owned at least 1,000,000 more voting units than the number of voting
19
     units set forth in Zaycon’s Operating Agreement; i) Kremin had been a creditor in Conrad’s
20
     bankruptcy proceeding; j) Kremin had been given his interest in the Company for little or no
21
     consideration; k) Kremin owned at least 1,625,000 more voting units than the number of voting
22

23 units described in Zaycon’s Operating Agreement; l) the law firm which prepared Zaycon’s

24 Operating Agreement had been a creditor in Conrad’s bankruptcy proceeding; m) Conrad had

25 been given his own interest in the Company for little or no consideration; n) Conrad owned at

26

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 1 least 1,625,000 more voting units than the number of voting units described in Zaycon’s

 2 Operating Agreement; and o) Giunta owned over 3,000,000 voting units which were not

 3
     referenced in the Operating Agreement.
 4
                  296.   Maresca, Giunta and Conrad further breached their fiduciary duties of loyalty,
 5
     due care, good faith/fair dealing, candor, and full disclosure to Zaycon and Braddock by (i)
 6

 7 conspiring to terminate Braddock’s employment contract and his status as Co-managing

 8 Member of the Company for their own self-interested reasons; (ii) manipulating the Zaycon

 9 capitalization structure; (iii) manipulating the voting process that resulted in the execution of

10 the Consent; (iv) withholding information from Braddock which he needed in order to convert

11
     the debt owed to him into Class A voting equity and to exercise his option to buy additional
12
     Class A membership units; (v) allowing Maresca to run the Company as its sole managing
13
     member in violation of Section 4.1 of the Operating Agreement, which states that “[t]he
14

15 Company shall be managed by two managers”; (vi) acting in their own self-interest and contrary

16 to the best interests of Zaycon in an effort to retain control of a company in which they had made

17 little or no investment; (vii) sabotaging the prospect of an investment by Great Hill by

18
     terminating Braddock’s status as Co-managing Member and as CEO and by interfering with the
19
     elimination of the Company’s debt for their own self-interested reasons only days after receiving
20
     the Great Hill proposal and notwithstanding Great Hill’s requirement that the Company be debt
21
     free at closing; (viii) refusing even to negotiate with Spring Lake or otherwise to consider or
22

23 make any effort to obtain an equity investment from Spring Lake; (ix) failing to apprise

24 Braddock of significant developments affecting both his interest in the Company and the

25 Company itself; and (x) preventing or seeking to prevent Braddock from obtaining information

26

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 1 and documents about Zaycon by interfering with Braddock’s attempts to obtain such

 2 information and documents from other Zaycon owners and employees.

 3
                  297.   Maresca, Giunta and Conrad have acted in bad faith and in a manner inconsistent
 4
     with their fiduciary duties.
 5
                  298.   The breaches of their fiduciary duties by Maresca, Giunta and Conrad have been
 6

 7 the proximate cause of Braddock’s damages.

 8                299.   As a direct and proximate result of Defendants’ wrongful conduct, Braddock has

 9 sustained damages in connection with his interest in Zaycon in an amount to be established at

10 trial in excess of $6,500,000.

11
                                            XII.    EIGHTH CLAIM
12
                                               (Breach of Contract)
13
                  300.   Plaintiff repeats and realleges each and every allegation set forth above as if set
14
     forth fully and at length herein.
15
                  301.   Plaintiff asserts this claim against Defendants Zaycon, Maresca, Giunta, Conrad
16

17 and Kremin.

18                302.   At all times mentioned, Zaycon and its members operated the Company pursuant
19 to an Operating Agreement dated November 1, 2012.

20
                  303.   The Operating Agreement contained an implied covenant of good faith and fair
21
     dealing.
22
                  304.   Braddock has fulfilled and performed all the terms and conditions required of
23
     him by the terms of the Operating Agreement.
24

25                305.   Defendants Zaycon, Maresca, Giunta, Conrad and Kremin breached the

26 Operating Agreement and Braddock’s employment contract by (i) conspiring to terminate

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 1 Braddock’s employment contract and his status as Co-managing Member of the Company for

 2 their own self-interested reasons; (ii) manipulating the Zaycon capitalization structure; (iii)

 3
     manipulating the voting process that resulted in the execution of the Consent; (iv) withholding
 4
     information from Braddock which he needed in order to convert the debt owed to him into Class
 5
     A voting equity and to exercise his option to buy additional Class A membership units; (v)
 6

 7 allowing Maresca to run the Company as its sole managing member in violation of Section 4.1

 8 of the Operating Agreement, which states that “[t]he Company shall be managed by two

 9 managers”; (vi) acting in their own self-interest and contrary to the best interests of Zaycon in

10 an effort to retain control of a company in which they had made little or no investment; (vii)

11
     sabotaging the prospect of an investment by Great Hill by terminating Braddock’s status as Co-
12
     managing Member and as CEO and by interfering with the elimination of the Company’s debt
13
     for their own self-interested reasons only days after receiving the Great Hill proposal and
14

15 notwithstanding Great Hill’s requirement that the Company be debt free at closing; (viii)

16 refusing even to negotiate with Spring Lake or otherwise to consider or make any effort to obtain

17 an equity investment from Spring Lake; (ix) failing to apprise Braddock of significant

18
     developments affecting both his interest in the Company and the Company itself; and (x)
19
     preventing or seeking to prevent Braddock from obtaining information and documents about
20
     Zaycon by interfering with Braddock’s attempts to obtain such information and documents from
21
     other Zaycon owners and employees.
22

23                306.   As a result of the foregoing, Plaintiff Braddock is entitled to compensatory

24 damages from Defendants Zaycon, Maresca, Giunta, Conrad and Kremin in an amount to be

25 proven at trial in excess of $6,500,000 plus interest.

26

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 1                                           XIII. NINTH CLAIM

 2                              (Aiding and Abetting Breach of Fiduciary Duty)

 3                307.   Plaintiff repeats and realleges each and every allegation set forth above as if set
 4 forth fully and at length herein.

 5
                  308.   Plaintiff asserts this claim against Defendant Kremin.
 6
                  309.   Defendants Maresca, Giunta and Conrad breached their fiduciary duties to
 7
     Braddock by making material misrepresentations and omissions to him.
 8

 9                310.   Defendants Maresca, Giunta and Conrad breached their fiduciary duties to

10 Zaycon and Braddock by, inter alia, conspiring to terminate Braddock’s employment contract

11 and his status as Co-managing Member of the Company for their own self-interested reasons.

12
                  311.   Defendants Maresca, Giunta and Conrad breached their fiduciary duties to
13
     Zaycon and Braddock by, inter alia, fraudulently inducing certain Zaycon members to vote for
14
     Braddock’s removal, thereby manipulating the voting process that resulted in the execution of
15
     the Consent.
16

17                312.   Defendants Maresca, Giunta and Conrad asked Kremin to assist in making

18 misrepresentations and omissions to Braddock.

19                313.   Defendants Maresca, Giunta and Conrad asked Kremin to assist in the ouster of
20
     Braddock.
21
                  314.   Defendants Maresca, Giunta and Conrad asked Kremin to assist in the
22
     manipulation of the voting process.
23
                  315.   Defendant Kremin participated in and aided and abetted in the making of
24

25 misrepresentations and omissions to Braddock.

26                316.   Defendant Kremin participated in and aided and abetted the ouster of Braddock

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 1 by advising and conspiring with Maresca, Giunta and Conrad to terminate Braddock’s

 2 employment and his status as Co-managing Member of the Company.

 3
                  317.   Defendant Kremin participated in and aided and abetted the manipulation of the
 4
     voting process that resulted in the execution of the Consent by falsely and fraudulently telling
 5
     Zaycon members that Braddock was opposed to the deal with Great Hill and that he would kill
 6

 7 it.

 8                318.   The actions of Kremin have caused Plaintiff Braddock to sustain damages.

 9                319.   As a result of the foregoing, Braddock is entitled to compensatory damages from
10 Kremin in an amount to be proven at trial in excess of $6,500,000, plus interest.

11
                                             XIV. TENTH CLAIM
12
                                             (Declaratory Judgment)
13
                  320.   Plaintiff repeats and realleges each and every allegation set forth above as if set
14
     forth fully and at length herein.
15

16                321.   Defendants    Maresca,    Conrad,    Giunta    and   Kremin     awarded    grossly

17 disproportionate numbers of Zaycon membership units to themselves and to friends and family

18 members for little or no consideration.

19
                  322.   The issuance of Zaycon membership units to Maresca, Conrad and Kremin is
20
     void.
21
                  323.   The issuance of Zaycon membership units to friends and family members of
22
     Maresca, Conrad, Giunta and Kremin for little or no consideration is void.
23

24                324.   This cause of action raises a justiciable controversy, sufficiently definite and

25 concrete to warrant declaratory relief.

26

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 1                325.   Braddock is entitled to a declaratory judgment that all or part of the Maresca,
 2 Conrad and Kremin units in Zaycon are invalid.

 3
                  326.   Braddock is entitled to a declaratory judgment that all or part of the Zaycon
 4
     membership units awarded to friends and family members of Maresca, Conrad, Giunta and
 5
     Kremin for little or no consideration are invalid.
 6

 7                                         PRAYER FOR RELIEF

 8                WHEREFORE, Plaintiff respectfully requests that this Court enter judgment as

 9 follows:

10                1.     Awarding compensatory damages to Plaintiff Braddock in an amount to be
11
     determined at trial in excess of $6,500,000;
12
                  2.     For a declaratory judgment that some or all of the membership units issued to
13
     Conrad, Maresca and Kremin and to others for little or no consideration are void; and
14

15                3.     Awarding such other and further relief as is just and proper, including pre-

16 judgment interest, costs and reasonable attorneys’ fees pursuant to the Securities Act of

17 Washington.

18                DATED this 14th day of November, 2016.
19                                                    RYAN, SWANSON & CLEVELAND, PLLC
20
                                                      By /s/ Michael J. Brown
21
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